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SO ORDERED.

SIGNED this 27 day of November, 2019.




                                                    John T. Laney, III
                                           United States Bankruptcy Judge



                                United States Bankruptcy Court
                                For the Middle District of Georgia
                                        Valdosta Division

In the matter of:                                      )        Chapter 7
                                                       )
Rickey S. Carter,                                      )        Case Number 19-71228-JTL
                                                       )
               Debtor(s).                              )
                                                       )
Bank of Alapaha,                                       )
                                                       )
               Movant                                  )
                                                       )
               V.                                      )
                                                       )
Rickey S. Carter,                                      )
             Debtor(s).                                )



                 AMENDED ORDER LIFTING THE AUTOMATIC STAY

       The above Motion having been set down for hearing on November 13th, 2019, and at the

call of the calendar there being no opposition; it is hereby:

       ORDERED, that the automatic stay of 11 U.S.C. §362 is hereby terminated to the extent
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necessary for Movant to pursue its state law rights against its collateral: real property commonly

known as 235 Walton Way, Nashville, GA 31639; Lot 19, White Pond Estates, Berrien County,

GA; 529 Jackson Circle, Lake Park, GA 31639; 44.5 acres on Bonnie Lane, Lake Park, GA

31636; 2016 Hurricane SS Watercraft, 2016 Yamaha F150XB Outboard Motor and 2016 Road

King Trailer; Whole Life Insurance Policy issued by Investors Life Insurance Company of North

America; Term Life Policy issued byFederated Insurance Company; 2019 Reflection 25BH

Travel Trailer.

           FURTHER ORDERED, that Debtor may execute a Deed-in-Lieu of Foreclosure

conveying to Movant the real property described herein.

           This Order shall take effect fourteen (14) days after the 341(a) meeting of creditors is

held.

           This Motion is continued to December 18th 2019, at 10:30 am, as to the 2019 Travel

Trailer.




Consented By:

/s/ Karl E. Osmus                                /s/ Thomas D. Lovett
Karl E. Osmus                                    Thomas D. Lovett
Attorney for Movant                              Kelly, Lovett, Blakey & Sanders
Georgia Bar No. 555129                           Attorney for Debtor
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